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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 NORTHERN DIVISION


AMERICAN FEDERATION OF STATE,
COUNTY, AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                       Plaintiffs,
                                                    Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                       Defendants.



                                     NOTICE OF FILING

       The Social Security Administration files this notice to provide the Court with the

supplemental declaration of Acting Commissioner Leland Dudek, as ordered in the Court’s March

27, 2025 letter to counsel.

Dated: March 28, 2025                     Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I certify that on March 28, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.

                                                       /s/ Bradley P. Humphreys
                                                       BRADLEY P. HUMPHREYS
